       Case 1:99-cr-10371-DJC Document 1365 Filed 11/07/13 Page 1 of 6




                           UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA                  )
                                          )
              v.                          )         Criminal No. 99-10371-DJC
                                          )
JAMES J. BULGER,                          )
                                          )
                     Defendant.           )

                           GOVERNMENT’S SENTENCING MEMORANDUM

      James     “Whitey”        Bulger    is       one    of    the   most   violent     and

despicable         criminals      in     Boston          history.     Having    now     been

convicted       of     thirty-one        felonies,             including     RICO     counts

involving multiple murders, Bulger richly deserves to spend the

rest of his life in jail.

      More specifically, Bulger’s conviction on Counts 1, 2, 3,

5-27, 42, 45 and 48 result in a U.S. Sentencing Guideline range

of   life   –      there   is   no     lower   level.           Additionally,       Bulger’s

conviction on Count 39 requires a mandatory consecutive sentence

of five years’ incarceration and his conviction on Count 40

requires a mandatory consecutive sentence of life imprisonment.

As set forth in the Presentence Report (“PSR”) at paragraphs 89




                                               1
       Case 1:99-cr-10371-DJC Document 1365 Filed 11/07/13 Page 2 of 6




and    134,     the   U.S.    Probation   Department    agrees     with   these

calculations.1

       There are no mitigating factors, and defendant Bulger has

no redeeming qualities, which would justify any sentence below

the one called for by the U.S. Sentencing Guidelines and the

applicable case law and statutes: life imprisonment on Counts 1,

2, 3, 5-27, 42, 45 and 48, followed by a consecutive sentence of

five years’ incarceration on Count 39, which in turn must be

followed by a consecutive sentence of life imprisonment on Count

40. Of course, there must also be a mandatory special assessment

of    $3,100    based    upon   the    thirty-one    counts   of   conviction.

Further,       the    Court   should   enter   the    requested    orders    of

forfeiture (for specific property and for a money judgment) to

prevent any money -- whether earned from his crimes or obtained

in the future -- from finding its way into Bulger’s pocket.2                See


1
     Government counsel previously opined – incorrectly - that
Bulger’s conviction on Count 40 would require a mandatory
consecutive sentence of thirty years’ incarceration; in fact,
both   the   case   law  and   the U.S.  Sentencing  Guidelines
(“U.S.S.G.”) require a mandatory consecutive sentence of life
imprisonment. See, U.S.S.G. §2K2.4 and Deal v. United States,
508 U.S. 129, 133 (1993); United States v. Robles, 709 F.3d 98,
101 (2nd Cir. 2013)(citing cases).
2
     The government has proposed entering into a settlement
agreement with the victims in this case so that any forfeited
funds may be divided among, and paid out to, the victims. The
overwhelming majority of the victims have indicated to the
                               2
       Case 1:99-cr-10371-DJC Document 1365 Filed 11/07/13 Page 3 of 6




ECF   Dkt   Nos.     1323,   1324.      Finally,     the   Court    should     order

restitution     to    the    murder    victims      of   Bulger’s    racketeering

organization as charged in the Third Superseding Indictment and

to extortion victims Michael Solimando and Richard Bucheri.                     See

18    U.S.C.   § 3663A(b).3          The   government      will    summarize     the

documented     restitution     claims      in   a   separate   filing   prior    to

sentencing.


United States that they support this proposal and would opt in
to such a settlement agreement.
3
   The restitution order should include both the estates of the
murder victims for which the jury returned verdicts of no
finding or not proven, and the estates of the murder victims
that the jury found were proven beyond a reasonable doubt. See
United States v. Aguirre-González, 597 F.3d 46, 51 (1st Cir.
2010)(“the district court may now ‘order restitution without
regard to whether the conduct that harmed the victim was conduct
underlying the offense of conviction’”)(quoting United States v.
Acosta, 303 F.3d 78 (1st Cir. 2002)).    See also, United States
v. Watts, 519 U.S. 148, 157 (1997) (“a jury’s verdict of
acquittal does not prevent the sentencing court from considering
conduct underlying the acquitted charge, so long as that conduct
has been proved by a preponderance of the evidence”); United
States v. Bradley, 644 F.3d 1213, 1298 (11th Cir. 2011) (The
district court did not err in ordering restitution based upon
activity for which the jury acquitted the defendant, but for
which the Court found the Government proved by a preponderance
of the evidence.)

   The restitution orders for murder victims’ estates should
also include both funeral and related expenses pursuant to 18
U.S.C. § 3663A(b)(3) and lost income pursuant to 18 U.S.C.
§ 3663A(b)(2). See United States v. Cienfuegos, 462 F.3d 1160,
1168 (9th Cir. 2006) (“[t]o not award restitution for future
lost income would lead to a perverse result where murderers
would be liable for markedly less in restitution than criminals
who merely assault and injure their victims”).
                                3
        Case 1:99-cr-10371-DJC Document 1365 Filed 11/07/13 Page 4 of 6




        Whitey Bulger Deserves No Mercy

        This   Court       presided       over        a     two-month        trial       which

graphically         revealed     Bulger’s    sinister         nature    and    his       truly

disturbing disregard for human life.                        His crimes caused untold

grief to the victims’ families as well as enormous pain and

suffering to the victims themselves.                        Bulger’s horrific crimes

and sadistic behavior (e.g., shooting Bucky Barrett in the back

of the head at close range after hours of interrogation and then

lying down on the couch to relax as his gang buried Barrett)

demonstrate that he deserves no mercy at the time of sentencing.

        When   he    was   finally     captured           after   sixteen     years      as   a

fugitive, Bulger chose to go to trial and play an elaborate game

of “Let’s Pretend.”              While legally irrelevant, Bulger was most

intent on pretending he was never an FBI informant despite the

innumerable meetings he had with various FBI agents in which he

provided information on his criminal competitors.                              Strangely,

despite denying his well-documented role as an informant, Bulger

also tried to pretend that the federal government had given him

full immunity in exchange for apparently nothing.                               Yet, when

given    the   opportunity          pretrial     to       present   evidence        of    this

imaginary      license      to    kill,     Bulger         declined     to    offer       any.

Through    counsel,        Bulger    also   pretended         pretrial       that    he   was


                                            4
     Case 1:99-cr-10371-DJC Document 1365 Filed 11/07/13 Page 5 of 6




going to testify and explain to everyone his many absurd claims.

While ultimately unsuccessful, Bulger even attempted to block

the press from reporting on his life of crime by asking the

Court to sequester various reporters whom he pretended to be

calling as witnesses.         Tellingly, he listed the reporters (Howie

Carr, Shelley Murphy, Kevin Cullen, Dick Lehr) whom he most

despised and then dropped them from the witness list when his

sequester request failed.            And finally, perhaps most cruelly,

Bulger, through counsel, even pretended to care about his murder

victims’ families.

     Whitey    Bulger’s       decades-long    crime    spree     is   now    over.

Presiding over a massive criminal enterprise, Bulger extorted

dozens of individuals, flooded South Boston with cocaine, shot

innocent   people,      strangled    women,    murdered    his    competitors,

corrupted FBI agents, and then ran away and hid for sixteen

years when he was finally indicted.                While many of the victims

will speak for themselves and their loved ones at the time of

sentencing, the actual sentence should speak for itself:                     life

in prison.

     Conclusion

     For     the    reasons    set   forth    above,     the   United       States

respectfully       requests   that   the   Court    sentence   James    “Whitey”


                                       5
      Case 1:99-cr-10371-DJC Document 1365 Filed 11/07/13 Page 6 of 6




Bulger to life in prison on Counts 1, 2, 3, 5-27, 42, 45 and 48,

followed by a consecutive sentence of five years’ incarceration

on   Count   39,   and    then     a   consecutive    sentence   of     life

imprisonment on Count 40.


                                           Respectfully submitted,

                                           CARMEN M. ORTIZ
                                           United States Attorney

Dated: November 7, 2013          By:       /s/ Brian T. Kelly
                                           BRIAN T. KELLY
                                           FRED M. WYSHAK, JR.
                                           ZACHARY R. HAFER
                                           Assistant U.S. Attorneys

                         CERTIFICATE OF SERVICE

     I hereby certify that this document filed through the ECF
system   will   be   sent  electronically   to   the   registered
participants as identified on the notice of Electronic Filing.

                                           /s/ Brian T. Kelly
                                           BRIAN T. KELLY
                                           Assistant U.S. Attorney


Dated: November 7, 2013




                                       6
